Case 3:19-cv-10170-BRM-LHG Document 159 Filed 12/10/19 Page 1 of 1 PageID: 9635
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                               MINUTES OF PROCEEDINGS

OFFICE: TRENTON
JUDGE BRIAN R. MARTINOTTI
COURT REPORTER: MEGAN MCKAY-SOULE
                                            DATE OF PROCEEDINGS: 12/10/2019
                                            CIVIL DOCKET #: 19-10170(BRM)

TITLE OF CASE:
Sandoz Inc., et al.,
vs.
United Therapeutics, et al.,

APPEARANCES:
Thomas Pease, Ethan Glass, Peter Calamari & Mike Bonanmo, Esquires for plaintiff, RareGen
Jenny Kramer, Esquire for plaintiff, Sandoz
Matthew Kent, Allison Thompson & Jonathan Parente, Esquires for Sandoz
Andrienne Rogove, Stephen Orlofsky & Michael Darbee, Esquires for United Therapeutics
Frederick Whitmer, Peter Boyle, Gretchen Randall & Meghan Hansen, Esquires for Smiths Medical
Jonathan Pitt, Christopher Berg, Edward Bennett & Sean Douglass, Esquires for United
Therapeutics

NATURE OF PROCEEDINGS: ORAL ARGUMENT HELD.
Settlement conference held; case did not settle.
Hearing on plaintiffs’ motion for preliminary injunction [doc. No. 106].
Ordered decision reserved.
The Court further directed the parties to file a 5 page closing paper not later than 7 days
from today’s date.

TIME COMMENCED: 10:55 a.m.
TIME ADJOURNED: 12:35 p.m.
TOTAL TIME: 1 hour 40 minutes
                                            s/Dana Sledge-Courtney
                                              Courtroom Deputy
